                IN THE UNITED STATES DISTRICT COURT

           FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


UNITED STATES OF AMERICA                    :
                                            :
                 v.                         :    1:23CR260-3
                                            :
ELMER RUBEN CASTRO                          :


                      FACTUAL BASIS FOR A GUILTY PLEA
      NOW COMES the United States of America, by and through Sandra J.

Hairston, United States Attorney for the Middle District of North Carolina,

and states that the factual basis for a guilty plea is as follows:

Home Invasion Robbery Scheme:

      In 2023, after being recruited by REMY RA ST FELIX, ELMER RUBEN

CASTRO joined JAROD GABRIEL SEEMUNGAL and others in a scheme to

commit home invasions, detain individuals, extort access to cryptocurrency

accounts or wallets, and steal the funds therein. SEEMUNGAL and others

devised the scheme in 2022, and, as a part of the conspiracy, organized a South

Florida-based robbery crew. Later, in the fall of 2022, the conspirators added

a Texas-based robbery crew.

      The conspirators communicated and planned their crimes by text

message, chiefly via the Telegram, Wickr, and Signal messaging applications.

Over the course of the scheme, the conspirators targeted individuals who they




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believed had profited from account takeover heists (e.g., Victim-3 and Victim-

6) and individuals that they believed possessed large amounts of

cryptocurrency (e.g., Victim-8 and Victim-10).

      Conspirators committed home invasions for the purpose of stealing

cryptocurrency in Delray Beach, Florida (Victim-1), Homestead, Florida

(Victim-3), Little Elm, Texas (Victim-6), and Durham, North Carolina (Victim-

8). They planned and took steps to commit home invasions at two additional

locations in Florida, in New York (Victim-10), and in Georgia. ST FELIX was

directly involved in or aided and abetted each of these incidents.

April 12, 2023 - Invasion of Victim-8’s Home in Durham, North Carolina:
      On or about April 8, 2023, ST FELIX and ELMER RUBEN CASTRO

traveled from South Florida to Durham to rob Victim-8 of cryptocurrency. In

the following days, they surveilled Victim-8’s home and purchased items so

that they could pose as construction workers.

      On April 12, 2023, at approximately 7:30 am, purporting to be members

of a work crew, ST FELIX and CASTRO knocked on Victim-8’s door. Victim 8’s

wife (Victim-9) answered. The men entered the home and one of them grabbed

Victim-9. Both men were armed with handguns. Victim-9 screamed and was

knocked to the floor. At least twice, one of the men intentionally banged Victim-

9’s head on the ceramic floor causing her to bleed. Victim-9 sustained three

broken ribs. One of the men punched Victim-8 in the face causing him to bleed.
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The men zip-tied the victims’ hands and feet together. They placed duct tape

around Victim-9’s head and mouth. During the home invasion, the men

threatened to kill Victim-9, to cut off Victim-8’s toes and genitalia, to shoot

Victim-8, and to rape Victim-9.

      CASTRO dragged Victim-9 by her legs into a bathroom where he

remained with her. ST FELIX forced Victim-8 upstairs to a loft office. ST

FELIX asked Victim-8 about Victim-8’s Coinbase.com account and continued

to threaten him. At gunpoint, Victim-8 unlocked his desktop computer and

provided access to his phone and multi-factor authentication application. ST

FELIX communicated with SEEMUNGAL by Telegram audio call. ST FELIX

downloaded AnyDesk remote desktop software to Victim-8’s computer. Using

Victim-8’s multi-factor authentication application, SEEMUNGAL accessed

Victim-8’s Coinbase.com custodial cryptocurrency account.

      SEEMUNGAL, who was in Florida, remotely accessed Victim-8’s

computer and made three cryptocurrency transfers out of Victim-8’s

Coinbase.com account. A fourth transfer was attempted but blocked by

Coinbase.com. Before each of the transfers, SEEMUNGAL exchanged various

cryptocurrency coins into a common coin type (i.e., Bitcoin and Ether). The

transfers from the account were as follows:

          Time                       Coin                 Approximate Value
         8:23 am               7.49386854 Ether                $14,037
         8:40 am              4.63376598 Bitcoin              $140,619
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         8:48 am              1.16478113 Ether                $2,197
                                                          Total: $156,853


          Time                      Coin                Approximate Value
         9:01 am              4.73712395 Ether            $9,145 (failed)


      ST FELIX and CASTRO placed Victim-8 in the bathroom with Victim-9,

destroyed their phones and Victim-8’s computer, and then left. Victim-9 was

able to free herself and Victim-8. They ran next door and a neighbor called 911

at 9:17 am.

      SEEMUNGAL attempted to launder the stolen funds by converting them

into an anonymity-enhanced cryptocurrency1 using a cryptocurrency instant

exchange. He then converted a portion of the funds out of the privacy coin and

sent ST FELIX and CASTRO $22,267 worth of cryptocurrency each at their

Coinbase.com accounts.




1 Anonymity-enhanced cryptocurrency, sometimes called “privacy coins,” are

cryptocurrencies that preserve anonymity by obscuring the flow of money
across their networks. They make it difficult to work out who sent what to
whom.
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This the 5th day of February, 2024.


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                             United States Attorney

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                         CERTIFICATE OF SERVICE
      I hereby certify that on February 5, 2024, I electronically filed the

foregoing with the Clerk of the Court using the CM/ECF system, which will

send notification of such filing to the following:

      Dylan W. Greenwood



                                         SANDRA J. HAIRSTON
                                         United States Attorney


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